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EXHIBIT “D”
Case 2:14-cv-03873-GJP Document 37-5 Filed 07/14/15 Page 2 of 11

MR 1

ey. SICK CALL REQUEST
Check one: Dental Medical Mental Health

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(Print Name)

Name:

Social Security No.

Housing Unit: qs t [6

Medical Problem (be specific): ho LW) Ese La HAAR. a 2
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MR 2

SICK CALL REQUEST
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(Print Nafe}
Social Security No. Jle8 58 295 ©

Housing Unit: G od
Medical Problem (be specific): _ “Aaatucy Je Pars Seer . Be Questric,

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Provider’s Signature:
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MR 3

SICK CALL REQUEST

Check one: ______—srDental ft Medical _
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Name )#0Y £. (Janet Sir- Inmate |.D. Number __2
(Print Name)

Social Security No. J&
Housing Unit:
Medical Problem (be specific):

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Inmate's Signature —~F— _f{~ / Date:_#9 le| 1 Time:__3:\6 0 PY

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Provider's Signature: Ke 2 Warr 4A Date: Le | bf L1___ Time: G ASL
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MR 4

SICK CALL REQUEST

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(Print Name)
Social Security No. 168 58 39350
Housing Unit: GQ Cew 18

Medical Problem (be specific): Ween Ayr Fume Ar C@eam Rene Jer

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Disposition: Nod %

Provider’s Signature: Date: Time:

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SICK CALL REQUEST

Check one: Dental S Medical Mental Health
Name: Wor WD Wimekt Se Inmate I.D. Number S85 % YO

MR 5

(Print Name)
Social Security No. eS SS 37 gO

Housing Unit: 62 Ces /©@

Medical Problem (be specific): —§ Gyzue SureerriG, Frew wpssr

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Case 2:14-cv-03873-GJP Document 37-5 Filed 07/14/15 Page 7 of 11

SICK CALL REQUEST

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{Print Name}
Social Security No. ! QS

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Medical Problem (be specific): TLEASE. Cen Ean) Ay Ayre. Fun gal
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MR 7

SICK CALL REQUEST
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(Print Name)

Social Security No.

\ Housing Unit:
Medical Problem (be specific: weEAD DPeme & Fav Done
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Inmate’s Signature — ~~ Date. (O-9-/(3 Time:_ t= Yo

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Provider’s Signature: Date: \ Time:

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MR 8&8

SICK CALL REQUEST

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Housing Unit; @a&A Cem | 8
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Provider’s Signature: Date: Time: Y
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MR 9

SICK CALL REQUEST

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(Print Name)
Social Security No. Wea 53 29SO

Housing Unit: CQ Cen 18
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Medical __ Mental Heatth

Inmate I.D. Number S853 40.4%

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(Print Name}

Social Security No.

Housing Unit:

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Medical Problem (be specific):

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MR 10

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inmate’s Signature— L343 2 p__

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Provider’s Signature:
